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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                               BOWLING GREEN DIVISION
                                 CASE NO. 1:12-CV-134

  U.S. SPECIALY INSURANCE CO.                                                     PLAINTIFF

  v.

  UNITED STATES OF AMERICA ex rel.
  E.A. BIGGS OF KY, LLC et al.                                            DEFENDANT/
                                                                THIRD-PARTY PLAINTIFF

  v.
                                    PROPOSED ORDER

  PERRY BARTSCH CONSTRUCTION CO.
  and
  GREAT AMERICAN INSURANCE COMPANY                            THIRD-PARTY DEFENDANTS

                                           ** ** **

         Motion having been made to Dismiss the Third Party Complaint and the Court being

  otherwise sufficiently advised,

         IT IS HEREBY ORDERED that the Third Party Complaint is DISMISSED.




                                                                            August 13, 2013
